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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 4.0.3
                                Eastern Division

Internet Media Corporation
                                     Plaintiff,
v.                                                     Case No.: 1:10−cv−00874
                                                       Honorable Robert M. Dow Jr.
Chicago Tribune Corporation
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, June 10, 2010:


        MINUTE entry before Honorable Robert M. Dow, Jr: Status hearing held on
6/10/2010. All matters in controversy having been settled, the above−entitled case is
hereby dismissed without prejudice and with leave to reinstate on or before 8/9/02010
after which time the dismissal will be with prejudice if no request to reinstate has been
filed. Counsel for Defendant to provide counsel for Plaintiff the signed settlement
agreement by 6/11/2010. Mailed notice(tbk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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